Case 2:04-cr-20092-.]DB Document 55 Filed 04/26/05 Page 1 of 2 Page|D 60

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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE 05 5 pa 26 ina £_ iii
WESTERN DIVISION

 

 

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CLEH`ZR, U.S. I`Ji . JT.

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UNITEI) STATES oF AMERICA, WD 0 li f vi
Plaintiff,
v~ No. 04-20092
GRACE LoNG,
Defendant.

 

ORDER GRANTING MOTION TO APPOINT NEW COUNSEL

 

Defendant has moved the Conrt to grant the Motion to Appoint New Counsel for
appeal. The Court finds that Ms. Long is indigent and that counsel for appeal Should be

appointed For good cause shown and With no objection from the government the motion

is granted

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this doci mem entered on me docket enact in compliance
with Rtl|e 55 and/cr 32{!3) FRCrP on "

  

    
 

UNITED sT""ATEDlsICT COUR - WESERNT D's'TRCT oFTENNEssEE

 

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Stuart J. Canale

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Honorable J. Breen
US DISTRICT COURT

